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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

IN RE: TESTOSTERONE                                            )    MDL No. 2545
REPLACEMENT THERAPY                                            )
PRODUCTS LIABILITY LITIGATION                                  )    Case No. 14 C 1748
---------------------------------------------------------------)
                                                               )
This document relates to                                       )
                                                               )
Amobi v. Eli Lilly & Co., No. 15 C 4200                        )

                            CASE MANAGEMENT ORDER NO. 148
                    (Order on Plaintiff Austin Amobi's Motion to Reinstate
                          in Amobi v. Eli Lilly & Co., No. 15 C 4200)

MATTHEW F. KENNELLY, District Judge:

       On 10/25/2017, counsel for Plaintiff Austin Amobi moved to withdraw from
representation of Plaintiff [Case No. 14 C 1748, Dkt. No. 2213]. Relying on information
in a sealed affidavit filed with the motion to withdraw, on 3/1/2018, the Court ordered Mr.
Amobi to show cause in writing by 3/22/2018 why his case should not be dismissed for
want of prosecution [Case No. 14 C 1748, Dkt. No. 2383; Case No. 15 C 4200, Dkt. No.
14]. In an apparent response to that order, Mr. Amobi asked the Court for "the
opportunity to get back on the docket" [Case No. 14 C 1748, Dkt. No. 2679]. The Court
construes Mr. Amobi's request as a motion to reinstate his case. It has come to the
Court's attention, however, that approximately one year before Mr. Amobi's counsel
moved to withdraw from representation, Mr. Amobi stipulated to the dismissal of his
entire action with prejudice. The Court dismissed Mr. Amobi's case with prejudice on
10/27/2016 [Case No. 15 C 4200, Dkt. Nos. 12, 13]. Because Mr. Amobi stipulated to
the dismissal of his entire action with prejudice, he is precluded from reopening his
case, and the Court denies his motion to reinstate [Case No. 14 C 1748, Dkt. No. 2679].
The Court also vacates the 3/1/2018 show-cause order as it applies to Mr. Amobi [Case
No. 14 C 1748, Dkt. No. 2383; Case No. 15 C 4200, Dkt. No. 14]. The Plaintiffs'
Steering Committee is directed to mail a copy of this order to Mr. Amobi and is to certify
its compliance with this directive by April 5, 2019.


                                                               ________________________________
                                                                    MATTHEW F. KENNELLY
                                                                    United States District Judge

Date: March 29, 2019
